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                       NOTICE TO CONSUMER DEBTORS
               ON INFORMATION REQUIRED IN BANKRUPTCY CASES
                         (Pursuant to 11 U.S.C. 527(a)(2))

The bankruptcy code requires you to provide complete and accurate information about your
debts, property and financial affairs. We take this requirement very seriously. We want you to
understand these requirements clearly.

     (A)     All information that you are required to provide with a bankruptcy petition and
             thereafter during your bankruptcy case is required to be complete, accurate and
             truthful.

     (B)     In the documents you have me file with the court to commence your
             bankruptcy case and thereafter, you must completely and accurately disclose
             all your assets and all of your liabilities. You must provide the replacement
             value without deducting the costs of sale or marketing as of the date you file of
             each item of personal property (property other than real estate) that is subject
             to a lien or security interest. You must make a reasonable inquiry to establish
             this value. If you acquired the property primarily for personal, family or
             household purposes, “replacement value” means the price a retail merchant
             would charge for an item of that kind given the age and condition of the item at
             the time you file.

     (C)     You must accurately provide after reasonable inquiry, your current monthly
             income, the amounts specified in 11 U.S.C. § 707(b)(2) and in a case under
             Chapter 13, disposable income (determined in accordance with § 707 (b)(2)).

     (D)     Information you provide during your case may be audited pursuant to the
             Bankruptcy Code. Failure to provide accurate information may result in
             dismissal of your case or other sanction including a criminal sanction.

I have received a copy of this notice

/s/ Jesse P Lott Jr
_____________________________             ___________        1754 W 83rd Street  Chicago, IL 60620
                                                             ___________________________________
Signature of Assisted Person                Date                         Address

Jesse P Lott Jr
________________________________                              Chicago, IL 60620
                                                             ___________________________________
Printed Name of Assisted Person                                      City, State, Zip

5939
________________________________
Last 4 Digits of Social Security Number
